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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 COMMONWEALTH OF PENNSYLVANIA, et al.,

                              Plaintiffs,

                       v.
                                                            No. 2:17-cv-04540-WB
 JOSEPH R. BIDEN, in his official capacity as President
 of the United States, et al.,

                              Defendants.


                    NOTICE OF WITHDRAWAL OF APPEARANCE

To the Clerk:

       Please withdraw the appearance of Michael J. Fischer of the Pennsylvania Office of

Attorney General on behalf of plaintiff, the Commonwealth of Pennsylvania. Jacob B. Boyer and

Elizabeth Lester-Abdalla of the Pennsylvania Office of Attorney General continue to represent

the Commonwealth of Pennsylvania in this matter.


 Dated: January 17, 2023                        Respectfully submitted,

                                                /s/ Michael J. Fischer
                                                Michael J. Fischer (Pa. Bar. No. 322311)
                                                Chief Counsel & Executive Deputy Attorney
                                                General
                                                Jacob B. Boyer (Pa. Bar. No. 324396)
                                                Elizabeth Lester-Abdalla (Pa. Bar. No.
                                                327276)
                                                Deputy Attorneys General
                                                Office of Attorney General
                                                1600 Arch Street, Suite 300
                                                Philadelphia, PA 19103
                                                (215) 560-2171
                                                mfischer@attorneygeneral.gov
                                                Attorneys for Plaintiff Commonwealth of
                                                Pennsylvania
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                                CERTIFICATE OF SERVICE


       I, Michael J. Fischer, hereby certify that on January 17, 2023, I caused a copy of the

foregoing to be electronically filed and served via the CM/ECF filing system. All participants in

the case who are registered CM/ECF users will be served via the CM/ECF system.

                                                            /s/ Michael J. Fischer
                                                            Chief Counsel & Executive Deputy
                                                            Attorney General
